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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                       Plaintiff,               )                      8:05CR106
                                                )
               v.                               )
                                                )                       ORDER
MARIO DIAZ-SANCHEZ,                             )
                                                )
                       Defendant.               )
                                                )


       IT IS ORDERED that a change of plea for the defendant, Mario Diaz-Sanchez, is scheduled
before the undersigned in Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111
South 18th Plaza, Omaha, Nebraska, on August 9, 2005, at 3:30 p.m. Since this is a criminal
case, the defendant shall be present, unless excused by the court. If an interpreter is required,
one must be requested by the plaintiff in writing five (5) days in advance of the scheduled hearing.
       The ends of justice will be served by granting the defendant's request for a short
continuance in order to complete plea agreement negotiations, and outweigh the interests of the
public and the defendant in a speedy trial. The additional time arising from the date of trial to the
date of the scheduled change of plea hearing, namely, August 1, 2005, through August 9, 2005,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act, for the reason that defendant's counsel requires additional time to adequately prepare
the case, taking into consideration due diligence of counsel and the novelty and complexity of this
case, and the failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 1st day of August, 2005.
                                               BY THE COURT:



                                               s/ Joseph F. Bataillon
                                               JOSEPH F. BATAILLON
                                               United States District Judge
